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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   DEL RIO DIVISION

JAVIER CAZARES, Individually as                     §
Wrongful Death Beneficiary of J.J.C.,               §
Deceased Minor, et al                               §
                      Plaintiffs,                   §
                                                    §
v.                                                  § Civil Action No. 2:24-cv-000045-AM
                                                    §
JUAN MALDONADO, et al                               §
             Defendants.                            §


          DEFENDANT PEDRO “PETE” ARREDONDO’S MOTION TO DISMISS
          PLAINTIFFS’ COMPLAINT FOR DAMAGES AND BRIEF IN SUPPORT


         Defendant Pedro “Pete” Arredondo, pursuant to Federal Rules of Civil Procedure 12(b)(1)

and 12(b)(6), files this Motion to Dismiss the claims brought against him in Plaintiffs’ Complaint

for Damages (Dkt. 2). In support thereof, Arredondo respectfully shows as follows: 1

                                            SUMMARY

         Defendant Arredondo is entitled to dismissal of Plaintiffs’ federal claims. First, the Parent

Plaintiffs lack standing individually as parents to present claims under 42 U.S.C. § 1983. Second,

Plaintiffs fail to allege facts that are sufficient to state a claim for relief regarding Arredondo.

Specifically, the Fourteenth Amendment substantive due process claim is based upon legal

theories—special relationship and state-created danger—that have been soundly rejected by the

Fifth Circuit. Likewise, Plaintiffs’ claims against Arredondo for a Fourth Amendment unlawful



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  Pursuant to Federal Rule of Civil Procedure 12(a)(4), Chief Arredondo is not required to file an
answer until fourteen (14) days after the Court rules on a motion filed pursuant to Rule 12. See
also Robin v. City of Frisco, No. 4:16-cv-576, 2017 WL 2986315, *1 (E.D. Tex. Jul. 13, 2017).
This extension applies regardless of whether the motion relates to some or all of the claims alleged
in Plaintiffs’ complaint. See 5B CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL
PRACTICE & PROCEDURE § 1346 (3d ed. 2006).
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seizure fail on their face since any seizure was created by the Shooter as opposed to any police

presence. Consequently, Arredondo is entitled to qualified immunity since rejected legal theories

cannot be clearly established law. Third, Plaintiffs’ claims against Arredondo in his official

capacity are duplicative of Plaintiffs’ claims against the Uvalde Consolidated School District,

Arredondo’s employer, and must be dismissed. Fourth, Plaintiffs’ claims for exemplary damages

against Defendant Arredondo are without merit and should be dismissed. Finally, all discovery

should be stayed in this matter until the issue of qualified immunity is resolved.

                                         BACKGROUND

     A. Plaintiffs’ Relevant Allegations Regarding Arredondo.

         Plaintiffs allege that Arredondo and other officers entered the building around 11:35 a.m.

and “saw and smelled the gun smoke and drywall cloud.” Dkt. 2 at ¶189. Plaintiffs describe

Arredondo as seeing “the bullet holes in the walls and the 5.56 NATO rounds on the floor.” Dkt.

2 at ¶204. Plaintiffs allege that “5.56 NATO rounds from the Shooter’s AR-15 had penetrated the

classroom walls into the hallway.” Dkt. 2 at ¶251. In fact, Plaintiffs allege that “[b]ullets came

through the interior wall” of the classroom opposite Classroom 112. Dkt. 2 at ¶192.

         Plaintiffs admit that as the law enforcement officers “approached the classrooms, the

Shooter continued firing [and] [a]n officer suffered a graze on his ear from shrapnel and another

officer received a minor graze wound.” Dkt. 2 at ¶206. After these injuries, the law enforcement

officers “stopped and retreated” and “took positions at either end of the hallway, ‘containing’ the

Shooter so he could not escape from Classrooms 111 and 112.” Dkt. 2 at ¶¶207-08. Plaintiffs allege

a TXDPS officer “signaled that officers in the hallway should wait because ‘DPS is sending

people.’” Dkt. 2 at ¶211. Plaintiffs allege that Arredondo attempted to negotiate with the Shooter.

Dkt. 2 at ¶¶258, 264, 288. A TXDPS Ranger “also plann[ed] to negotiate with the Shooter” once


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he arrived on scene. Dkt. 2 at ¶289. Meanwhile, “[o]fficers evacuated children from some

classrooms in the West building.” Dkt. 2 at ¶268.

         Plaintiffs further allege that “TXDPS … arrived on scene within sixty seconds of the

Shooter entering the West building.” Dkt. 2 at ¶193. Plaintiffs claim that “TXDPS’s role is to

provide public safety capabilities that smaller law enforcement agencies in Texas either do not or

cannot sustain … including mass attacks … like the active shooter incident at Robb Elementary

School on May 24, 2022.” Dkt. 2 at ¶195. Plaintiffs assert that “[a]t least 91 officers from TXDPS

responded to the active shooter incident at Robb Elementary School on May 24, 2022.” Dkt. 2 at

¶197. Plaintiffs further allege that the TXDPS Rangers “had the authority to exercise de facto

supervisory authority over TXDPS, UPD, UCISD-PD and County law enforcement officers.” Dkt.

2 at ¶219.

         Plaintiffs allege that Arredondo and other law enforcement officers “rejected ALERRT

doctrine.” Dkt. 2 at ¶207. “Officers continued to try to find a key that would work on the doors to

Classroom 111 and 112, even though the door to Classroom 111 was unlocked.” Dkt. 2 at ¶290.

Plaintiffs allege Arredondo in a phone call to UPD dispatch, said “we don’t have enough firepower

right now it’s all pistol and he has an AR15.” Dkt. 2 at ¶214. “Officers reasoned there was ‘no

way’ to take action, and the only thing they could do was wait … and try to get something that had

better coverage where we could actually stand up to him.” Dkt. 2 at ¶253. Moreover, Plaintiffs

allege that “[o]fficers did not want to move forward until they had rifle-rated shields.” Dkt. 2 at

¶254. Plaintiffs allege that under these circumstances that even a TXDPS Ranger “indicated that

it was acceptable to wait until more resources arrived before engaging the Shooter.” Dkt. 2 at ¶220.

         Outside, Plaintiffs allege that armed parents “were moving toward the northwest corner of

the school [when] Officers stopped them.” Dkt. 2 at ¶270. “A total of 376 law enforcement officers


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had responded to the active shooter incident at Robb Elementary School: [including Arredondo

and four other UCISD-PD officers].” Dkt. 2 at ¶325.

     B. Plaintiffs’ Causes of Action.

         Plaintiffs assert claims against Arredondo in his individual and official capacities under 42

U.S.C. §1983 for alleged violations of Plaintiffs’ rights under the Fourth and Fourteenth

Amendments. Dkt. 2 at ¶¶326-384. First, Plaintiffs assert a claim against Arredondo in his

individual capacity under the Fourteenth Amendments for substantive due process/special

relationship. Dkt. 2 at ¶¶326-353. Second, Plaintiffs assert a claim against Arredondo in his

individual capacity under the Fourteenth Amendments for “State Created Danger.” Dkt. 2 at

¶¶354-366. Third, Plaintiffs assert a claim against Arredondo in his individual capacity under the

Fourth Amendment for unlawful seizure. Dkt. 2 at ¶¶367-370. Fourth, Plaintiffs assert a claim

against Arredondo in his official capacity under the Fourth and Fourteenth Amendments for

“failure to train/creation of policy.” Dkt. 2 at ¶¶371-379. Finally, Plaintiffs assert a claim against

Arredondo in his official capacity under the Fourteenth Amendment for “special relationship and

state created danger, failure to train/creation of policy.” Dkt. 2 at ¶¶380-384. Plaintiffs seek

recovery from Arredondo for compensatory economic damages; punitive and exemplary damages;

reasonable attorney’s fees; and costs of suit and pre- and post-judgment interest. Dkt. 2 at ¶442.

                               ARGUMENT AND AUTHORITIES

    A. The Standard for a Motion to Dismiss.

         1. Federal Rule of Civil Procedure 12(b)(1).

         A court must dismiss a claim for which it lacks jurisdiction. FED. R. CIV. P. 12(b)(1). A

claim should be dismissed for lack of subject-matter jurisdiction “when the court does not have

statutory or constitutional power to adjudicate the case.” In re FEMA Trailer Formaldehyde Prods.

Liab. Litig., 668 F.3d 281, 286 (5th Cir. 2012) (citation omitted). When a Rule 12(b)(1) motion is
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filed together with other Rule 12 motions, the Rule 12(b)(1) challenge should be first considered.

Wolcott v. Sebelius, 635 F.3d 757, 762 (5th Cir. 2011) (citing Ramming v. U.S., 281 F.3d 158, 161

(5th Cir. 2001)). The party asserting jurisdiction bears the burden of proof for a motion under Rule

12(b)(1). Ramming, 281 F.3d at 161.

         2. Federal Rule of Civil Procedure 12(b)(6).

         To survive a FED. R. CIV. P. 12(b)(6) motion to dismiss, Plaintiffs must plead “enough facts

to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007). A formulaic recitation of the elements of a cause of action will not suffice. Id.; Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009). In deciding a motion under Rule 12(b)(6), the court does not,

“presume true a number of categories of statements, including legal conclusions; mere labels;

threadbare recitals of the elements of a cause of action; conclusory statements; and naked

assertions devoid of further factual enhancement.” Harmon v. City of Arlington, 16 F.4th 1159,

1162-63 (5th Cir. 2021) (citing Morgan v. Swanson, 659 F.3d 359, 370 (5th Cir. 2011) (en banc)).

         The Court need only accept as true the “well pleaded” facts in a complaint; to be “well

pleaded,” a complaint must state specific facts to support the claim, not merely conclusions and

unwarranted factual deductions. Tuchman v. DSC Comms. Corp., 14 F.3d 1061, 1067 (5th Cir.

1994); Fee v. Herndon, 900 F.2d 804, 807 (5th Cir. 1990). A court is not bound to accept legal

conclusions couched as factual allegations. Papasan v. Allain, 478 U.S. 265, 286 (1986). The Court

should “not accept as true conclusory allegations, unwarranted factual inferences, or legal

conclusions.” Gentilello v. Rege, 627 F.3d 540, 544 (5th Cir. 2010). A conclusory allegation is

one which lacks factual support. E.g., Inclusive Communities Project, Inc. v. Lincoln Prop. Co.,

920 F.3d 890, 911 (5th Cir. 2019). The Court should dismiss a complaint if it lacks an allegation

regarding an element of a cause of action. Keane v. Fox TV Stations, Inc., 297 F. Supp. 2d 921,


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925 (S.D. Tex. 2004) (citing Blackburn v. City of Marshall, 42 F.3d 925, 931 (5th Cir. 1995)).

         3. The Plaintiffs’ Burden to Defeat Qualified Immunity.

         “Although nominally an affirmative defense, the plaintiff has the burden to negate the

assertion of qualified immunity once properly raised.” Collier v. Montgomery, 569 F.3d 214, 217-

18 (5th Cir. 2009). Qualified immunity “adds a wrinkle” to §1983 pleadings. Arnold v. Williams,

979 F.3d 262, 266-67 (5th Cir. 2020). “‘A plaintiff seeking to overcome qualified immunity must

plead specific facts that both allow the court to draw the reasonable inference that the defendant is

liable for the harm he has alleged and that defeat a qualified immunity defense with equal

specificity.’” Id. (quoting Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir. 2012)). To defeat qualified

immunity, a plaintiff must show: (1) that the official violated a statutory or constitutional right;

and (2) that the right was clearly established at the time of the challenged conduct, in the specific

context of the case. Scott v. Harris, 550 U.S. 372, 377 (2007); Morgan, 659 F.3d at 371; Brumfield

v. Hollins, 551 F.3d 322, 326 (5th Cir. 2008). Courts have discretion in deciding which prong to

address first. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

     B. The Court Lacks Jurisdiction Over Parent Plaintiffs’ Individual Claims Because
        They Lack Standing.

         “Federal courts are courts of limited jurisdiction, and absent jurisdiction conferred by

statute, lack the power to adjudicate claims.” Stockman v. FEC, 138 F.3d 144, 151 (5th Cir. 1998).

The court “must presume that a suit lies outside this limited jurisdiction, and the burden of

establishing federal jurisdiction rests on the party seeking the federal forum.” Howery v. Allstate

Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001). Accordingly, “before a federal court can consider the

merits of a legal claim, the person seeking to invoke the jurisdiction of the court must establish the

requisite standing to sue.” Whitmore v. Arkansas, 495 U.S. 149, 154 (1990).



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         To establish standing under Article III, “a plaintiff must show (1) it has suffered an ‘injury

in fact’ that is (a) concrete and particularized and (b) actual or imminent, not conjectural or

hypothetical; (2) the injury is fairly traceable to the challenged action of the defendant; and (3) it

is likely, as opposed to merely speculative, that the injury will be redressed by a favorable

decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-81

(2000). “The injury must affect the plaintiff in a personal and individual way.” Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560 n.1 (1992).

         Plaintiffs claim the “Parent Plaintiffs” are “suing in their individual capacities.” Dkt. 2 at

¶54. Javier Cazares; Santa Gloria Cazares; Kimberly Garcia; Rachel Garza; Miguel Cerrillo;

Abigale Veloz; Ana Rodriguez; Jerry Mata; Veronica Mata; Jessie Rodriguez; Deanna Gornto;

Maria Magdalene Garcia; Juan Julian Bravo; Veronica Luevanos; Jacob Silguero; April Elrod;

Kimberly Rubio; Felix Rubio; Jose Luevanos; Christina Luevanos; Jennifer Lugo; Steven Garcia;

Alyssa Rodriguez; Evadulia Orta; Mandy Marie Renfro; David Balmer; Eli Torres; Jose Martinez;

Kassandra Chavez; Vincent Salazar; and Melinda Alejandro purport to assert claims individually

against Arredondo based on injuries to their relatives. Dkt. 2 at ¶¶22-52.

         The Parent Plaintiffs lack individual standing under §1983 because they expressly base

their §1983 claims on allegations that Arredondo and the other law enforcement officers violated

the deceased and injured minors’ constitutional rights as opposed to their own constitutional

rights.2 Parent Plaintiffs are asserting that their individual constitutional rights were violated when



2
  E.g., Gregory v. McKennon, 430 Fed. App’x 306, 310 (5th Cir. 2011) (plaintiff lacked standing
to pursue a §1983 claim based on violations of others’ rights, citing Lujan, 504 U.S. at 560 n.1
for the proposition that a plaintiff lacks Article III standing where the alleged injury does not affect
the plaintiff in a personal and individual way); Barker v. Halliburton Co., 645 F.3d 297, 300 (5th
Cir. 2011) ( “A third party may not assert a civil rights claim based on the civil rights violations
of another individual.”); Covarrubias v. Wallace, 907 F. Supp. 2d 808, 813 (E.D. Tex. 2012)
(plaintiff “cannot raise claims regarding alleged violations of other persons’ rights).
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“[o]fficers physically restrained [Parent Plaintiffs] … from getting closer to the school.” Dkt. 2 at

¶241. Parent Plaintiffs fail to identify the alleged officers restraining the parents as well the parents

being restrained.3 However, Arredondo is clearly not one of the unidentified officers since

Arredondo was inside the building and the alleged physical restraints occurred outside. Friends of

the Earth, Inc., 528 U.S. at 180-81 (the injury must be “fairly traceable” to the defendant’s

conduct). Consequently, the Parent Plaintiffs lack standing to pursue individual claims against

Arredondo under §1983.

      C. Arredondo is Entitled to Qualified Immunity.

          To defeat qualified immunity, a plaintiff must show: (1) that the official violated a statutory

or constitutional right; and (2) that the right was clearly established at the time of the challenged

conduct, in the specific context of the case. Scott, 550 U.S. at 377; Bevill v. Fletcher, 26 F.4th 223,

227 (5th Cir. 2022). Under the second prong, a constitutional right is “clearly established” when

the contours of the right are “sufficiently clear that a reasonable official would understand that

what he is doing violates that right.” Anderson v. Creighton, 483 U.S. 635, 640 (1987). “Because

the focus is on whether the officer had fair notice that [his] conduct was unlawful, reasonableness

is judged against the backdrop of the law at the time of the conduct.” Brosseau v. Haugen, 543

U.S. 194, 198 (2004) (per curiam).

          1. Plaintiffs’ Reliance on the Special Relationship is Not Clearly Established.

          The Fifth Circuit has recognized that schoolchildren have a liberty interest in their bodily

integrity which is protected by the Due Process Clause. Doe v. Columbia-Brazoria Indep. Sch.

Dist., 855 F.3d 681, 688 (5th Cir. 2017) (citing Doe v. Covington Cty. Sch. Dist., 675 F.3d 849,

853 n.2 (5th Cir. 2012) (en banc)); see DeShaney v. Winnebago Cty. Dep't of Soc. Servs., 489 U.S.



3
    Two parents are identified, but no officers are identified. Dkt. 2 at ¶246-247.
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189, 197 (1989). But the “failure to protect an individual against private violence simply does not

constitute a violation of the Due Process Clause,” unless the state has created “a ‘special

relationship’ with a particular citizen, requiring the state to protect him from harm.” Covington,

675 F.3d at 855-56 (quoting Deshaney, 498 U.S. at 199–200). Plaintiffs’ allegations and legal

theories are insufficient to defeat Arredondo’s entitlement to qualified immunity.

         The Fifth Circuit has emphatically and categorically rejected the special-relationship

theory in the public-school context. Covington, 675 F.3d at 857 (“We reaffirm, then, decades of

binding precedent: a public school does not have a DeShaney special relationship with its students

requiring the school to ensure the students’ safety from private actors.”); see also Leffall v. Dallas

Indep. Sch. Dist., 28 F.3d 521, 522, 529 (5th Cir. 1994) (finding no special relationship between a

high school and a student fatally wounded by a gunshot fired in the school parking lot after a school

dance); Johnson v. Dallas Indep. Sch. Dist., 38 F.3d 198, 199, 202-03 (5th Cir. 1994) (finding no

special relationship between a high school and a student shot and killed in the school hallway

during the school day by a boy who was not a student but had gained access to the school); Doe v.

San Antonio Indep. Sch. Dist., 197 Fed. App’x 296, 298-301 (5th Cir. 2006); Teague v. Tex. City

Indep. Sch. Dist., 185 Fed. App’x 355, 357 (5th Cir. 2006). Accordingly, Plaintiffs’ claims cannot

rest on the special-relationship theory, as it has been categorically rejected and, thus, cannot defeat

Arredondo’s entitlement to qualified immunity. See Watts v. Northside Indep. Sch. Dist., 37 F.4th

1094, 1096 (5th Cir. 2022). The Special Relationship theory is not clearly established law in the

context of school law and school law enforcement. Arredondo is, therefore, entitled to qualified

immunity as to Plaintiffs’ first cause of action.

         2. The State-Created Danger Theory is not Clearly Established in the Fifth Circuit.

         Plaintiffs point to the state-created danger theory because this case involves a criminal act

by a private third party who was trespassing on school property. The problem for Plaintiffs is that
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“the Fifth Circuit has never recognized th[e] ‘state-created-danger’ exception.” Keller v. Fleming,

952 F.3d 216, 227 (5th Cir. 2020). In fact, the Fifth Circuit has repeatedly declined to recognize

the state-created danger theory of liability. Joiner v. United States, 955 F.3d 399, 407 (5th Cir.

2020); see also, e.g., Shumpert v. City of Tupelo, 905 F.3d 310, 324 n.60 (5th Cir. 2018) (“[T]he

theory of state-created danger is not clearly established law.” (listing cases)); Kovacic v. Villarreal,

628 F.3d 209, 214 (5th Cir. 2010) (“The Fifth Circuit has not adopted the ‘state-created danger’

theory of liability.”); Bustos v. Martini Club Inc., 599 F.3d 458, 466 (5th Cir. 2010) (“But this

circuit has not adopted the state-created danger theory.”); Rios v. City of Del Rio, 444 F.3d 417,

422 (5th Cir. 2006) (“[N]either the Supreme Court nor this court has ever either adopted the state-

created danger theory or sustained a recovery on the basis thereof.”); Beltran v. City of El Paso,

367 F.3d 299, 307 (5th Cir. 2004) (“This court has consistently refused to recognize a ‘state-created

danger’ theory of § 1983 liability even where the question of the theory’s viability has been

squarely presented.”).

         The Fifth Circuit recently reaffirmed that “the Fifth Circuit has never recognized th[e]

‘state-created-danger exception.’” Fisher v. Moore, 62 F. 4th 912, 916 (5th Cir. 2023). In Fisher,

the Fifth Circuit reiterated that “[t]his circuit has never adopted a state-created danger exception

to the sweeping ‘no duty to protect’ rule. And a never-established right cannot be

a clearly established one.” Id.; see also Walker v. Livingston, 381 Fed. App'x 477, 479-80 (5th Cir.

2010) (“[T]his court has held that the state created danger theory is ‘not clearly established law

within this circuit such that a § 1983 claim based on this theory could be sustained’”). The Fisher

court went on to explain that “[i]n our published, and thus binding, caselaw, ‘[w]e have repeatedly

declined to recognize the state-created danger doctrine.’” Fisher, 62 F.4th at 916. Consequently,

Plaintiffs cannot demonstrate a clearly established substantive due process right on the facts they


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allege. See Keller, 952 F.3d at 227. Arredondo is, therefore, entitled to qualified immunity as to

Plaintiffs’ second cause of action.

         3. Plaintiffs’ Claim for Unlawful Seizure Under the Fourth Amendment, Likewise,
            Fails.

         As an initial matter, there was no seizure by Arredondo or by any of the law enforcement

officers. “The Fourth Amendment protects ‘[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.’ [T]he ‘seizure’ of a

‘person,’ which can take the form of ‘physical force,’ or a ‘show of authority’ that ‘in some way

restrain[s] the liberty’ of the person.” Torres v. Madrid, 141 S. Ct. 989, 995 (2021)

(quoting Terry v. Ohio, 392 U. S. 1, 19, n. 16 (1968)); see also California v. Hodari D., 499 U.S.

621 (1991). “At the adoption of the Fourth Amendment, a ‘seizure’ was the ‘act of taking by

warrant’ or ‘of laying hold on suddenly.’” Torres, 141 S. Ct., at 995 (citation omitted).

         “A seizure requires the use of force with intent to restrain. Accidental force will not qualify.

Nor will force intentionally applied for some other purpose satisfy the rule.” Torres, 141 S. Ct. at

998 (emphasis in original) (citation omitted). “[T]he appropriate inquiry is whether the challenged

conduct objectively manifests an intent to restrain….” Id. (emphasis in original). “Nor does the

seizure depend on the subjective perceptions of the seized person.” Id. at 999. Plaintiffs admit that

Arredondo and the other law enforcement officers sought additional equipment, sought to remove

children from surrounding classrooms, and sought to contain the Shooter. There was no intent on

Arredondo’s part to restrain the Plaintiffs.4

         In determining whether an officer makes a sufficient show of authority, the court considers


4
  To the extent Plaintiffs are asserting that Arredondo and the other law enforcement officers on
scene acted with negligence or some other standard their claims fail. The Fifth Circuit has
explained that “precedents foreclose liability under the Fourth Amendment in the absence of
intentional conduct.” Gorman v. Sharp, 892 F.3d 172, 175 (5th Cir. 2018) (citing Browerv. County
of Inyo, 489 U.S. 593, 596-97 (1989)).
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whether, in the light of ‘all of the circumstances surrounding the incident, a reasonable person

would have believed that he was not free to leave.’” United States v. Wright, 57 F.4th 524, 531

(5th Cir. 2023) (quoting United States v. Mendenhall, 446 U.S. 544, 554, (1980)). “When a person

‘has no desire to leave for reasons unrelated to the police presence, the coercive effect of the

encounter can be measured better by asking whether a reasonable person would feel free to decline

the officers’ requests or otherwise terminate the encounter’” Id. (quoting United States v. Flowers,

6 F.4th 651, 655 (5th Cir. 2021)). Arredondo made no show of authority to the teachers and

students in the classrooms. It was the Shooter, not Arredondo and the other law enforcement

officers, who was restricting the Plaintiffs’ movements. The most Plaintiffs allege Arredondo did

was attempt to negotiate with the Shooter, but this was not a seizure of the Plaintiffs. Additionally,

Plaintiffs’ allegations and arguments about some parents being restrained by unidentified law

enforcement officers, and not Arredondo specifically, are insufficient to state a claim against

Arredondo under §1983 because individual liability under §1983 requires a showing of individual

causation. E.g., Martinez v. City of N. Richland Hills, 846 Fed. App’x 238, 243-44 (5th Cir. 2021);

Jones v. Hosemann, 812 Fed. App’x 235, 239 (5th Cir. 2020) (“It is not enough for a plaintiff to

simply allege that something unconstitutional happened to him. The plaintiff must plead that each

defendant individually engaged in actions that caused the unconstitutional harm.”). Consequently,

there was no seizure by Arredondo.

         Assuming arguendo that there was a seizure (there was not), Plaintiffs’ complaint that the

encounter took too long so as to rise to the level of a constitutional violation is equally without

merit. Qualified immunity is overcome only if, at the time and under the circumstances of the

challenged conduct, all reasonable officers would have realized the conduct was prohibited by the

federal law on which the suit is founded. Dudley v. Angel, 209 F.3d 460, 462 (5th Cir. 2000). The


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question is whether a reasonable officer could have believed that the actions of the defendant

officer were lawful in light of clearly established law and the information the officer possessed at

the time. Anderson, 483 U.S. at 641. If reasonable officers could differ on the lawfulness of a

defendant’s actions, the defendant is entitled to qualified immunity. Malley v. Briggs, 475 U.S.

335, 341 (1986). The legal principle in question must clearly prohibit the specific conduct of the

official in the particular circumstances that were confronting the official. District of Columbia v.

Wesby, 583 U.S. 48, 63 (2018).

         But Plaintiffs have clearly pleaded that a reasonable officer could have believed any delay

in entering the classrooms was lawful in light of clearly established law and the information

Arredondo possessed at the time. Plaintiffs allege that under these circumstances even a highly

skilled and better trained TXDPS Ranger “indicated that it was acceptable to wait until more

resources arrived before engaging the Shooter.” Dkt. 2 at ¶220. Plaintiffs allege that Arredondo

attempted to negotiate with the Shooter. Dkt. 2 at ¶¶258, 264, 288. Likewise, they allege that a

TXDPS Ranger intended to initially negotiate with the Shooter. Dkt. 2 at ¶289. Plaintiffs allege

that Arredondo and the other law enforcement officers called for additional resources. Dkt. 2 at

¶¶214, 253, 254. “Officers reasoned there was ‘no way’ to take action, and the only thing they

could do was wait … and try to get something that had better coverage where we could actually

stand up to him.” Dkt. 2 at ¶253. Plaintiffs allege that better trained and more skilled officers from

better equipped and funded agencies than Arredondo took similar actions to Arredondo. Under

such pleadings there is no way Plaintiffs can assert that all reasonable officers would have realized

that Arredondo’s conduct was prohibited by the federal law on which the suit is founded.

         It is the plaintiff’s burden to plead and prove specific facts overcoming qualified immunity.

Elliot v. Perez, 751 F.2d 1472, 1479 (5th Cir. 1985). To do so, a claimant “must plead specific


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facts that both allow the court to draw the reasonable inference that the defendant is liable for the

harm he has alleged and that defeat a qualified immunity defense with equal specificity.” Backe,

691 F.3d at 648. Under the pleading standard required to overcome qualified immunity, Plaintiffs’

conclusory and speculative Fourth Amendment allegations fail to state a claim. Arredondo is,

therefore, entitled to qualified immunity as to Plaintiffs’ third cause of action.

     D. Plaintiffs’ Official Capacity Claims Against Arredondo Should be Dismissed as
        Redundant.

         Suing a governmental official in his official capacity is merely another way of pleading an

action against the entity of which that officer is an agent. Kentucky v. Graham, 473 U.S. 159, 165-

166 (1985); Brandon v. Holt, 469 U.S. 464, 471 (1985). Courts dismiss redundant claims when

they are asserted against both an individual in his or her official capacity and the entity for which

the official works. E.g., Castro Romero v. Becken, 256 F.3d 349, 355 (5th Cir. 2001) (upholding

the dismissal of claims against officers in their official capacity which were duplicative of the

claims against the governmental entities); Eltalawy v. Lubbock Indep. Sch. Dist., 816 Fed. App’x

958, 962-63 (5th Cir. 2020) (dismissing official capacity claims against a school employee as

redundant to claims against the school district, citing Hafer v. Melo, 502 U.S. 21, 25 (1991)).5

         Plaintiffs’ fourth and fifth causes of action purport to assert claims under §1983 against

both Uvalde Consolidated Independent School District and Arredondo in his official capacity. Dkt.

4 at ¶¶9.1-9.9, 10.1-10.5. Specifically, Plaintiffs repeat their special relationship and state-created

danger claims under the Fourteenth Amendment and add claims for failure to train and creation of

policy.6 Id. The Court should dismiss the official-capacity claims against Arredondo because they


5
  See also, e.g., Clark v. LaMarque Indep. Sch. Dist., 54 Fed. App’x 412 (5th Cir. 2002); Flores v.
Cameron County, Tex., 92 F.3d 258, 261 (5th Cir. 1996) (dismissing claims against county judge
in his official capacity as redundant of claims against the county).
6
  Arredondo is not the UCISD’s policymaker as a matter of law. The Board of Trustees is the
policymaker for independent school districts in Texas. Edgewood Indep. Sch. Dist., 964 F.3d at
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are redundant of Plaintiffs’ claims against UCISD.

     E. Plaintiffs’ Failure to Train and Creation of Policy Claims are Without Merit Against
        Arredondo.

          Again, Plaintiffs’ official capacity claims against Arredondo should be dismissed as

redundant. However, if they are not dismissed as redundant, the claims should be dismissed

because Arredondo is not a policymaker for UCISD, and Plaintiffs have failed to offer well-pled

allegations sufficient to demonstrate a constitutional violation for failure to train or creation of a

policy. Arredondo is, therefore, entitled to qualified immunity, and the Court should dismiss these

claims.

     F. The Court Should Dismiss Plaintiffs’ Claim for Punitive Damages.

          To obtain punitive damages in connection with their §1983 claims, Plaintiffs must establish

that Arredondo violated the Plaintiffs’ constitutional rights7 and that Arredondo acted with reckless

or callous indifference to the Plaintiffs’ federally protected rights or was motivated by evil intent.

Smith v. Wade, 461 U.S. 30, 56 (1983); Heaney v. Roberts, 846 F.3d 795, 803 (5th Cir. 2017).

Plaintiffs must demonstrate that Arredondo acted with subjective recklessness or callous

indifference. Kohler v. Johnson, 396 Fed. App’x 158, 162 (5th Cir. 2010) (citing Kolstad v. Am.

Dental Ass’n, 527 U.S. 526, 536 (1999)); Williams, 352 F.3d at 1015. This is a difficult standard

to meet.8

          Plaintiffs have not offered well-pled allegations to show that Arredondo violated the

Plaintiffs’ clearly established statutory or constitutional rights. Additionally, Arredondo’s alleged


365; Jett, 7 F.3d at 1245. Therefore, Arredondo cannot create policy for the UCISD as Plaintiffs
allege.
7
  See, e.g., Williams v. Kaufman County, 352 F.3d 994, 1015 (5th Cir. 2003); La. ACORN Fair
Hous. v. LeBlanc, 211 F.3d 298, 303 (5th Cir. 2000).
8
  For example, a plaintiff established defendants’ subjective recklessness and callous indifference
by showing that the defendants knowingly perpetuated an unconstitutional prison policy in
violation of a court order. Sockwell v. Phelps, 20 F.3d 187, 192 (5th Cir. 1994).
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conduct does not demonstrate evil motive or intent and does not rise to the level of reckless or

callous indifference to the Plaintiffs’ statutory or constitutional rights. Plaintiffs acknowledge that

Arredondo was responding to an aggravated assault with a deadly weapon in a school. Plaintiffs

allege that Arredondo attempted to negotiate with the Shooter. Dkt. 2 at ¶¶258, 264, 288.

Arredondo and other responding officers attempted to secure additional resources looked for keys

to enter the classrooms. Dkt. 2 at ¶¶214, 290. Accordingly, the Court should dismiss Plaintiffs’

claim for punitive damages against Arredondo.

     G.         The Court Must Stay Discovery

          While a defendant’s assertion of immunity is pending, courts cannot allow any discovery

to take place. Carswell v. Camp, 54 F. 4th 307, 311 (5th Cir. 2022); Iqbal, 556 U.S. at 684-686

(recognizing “serious and legitimate reasons” for the basic thrust of qualified immunity—to free

government officials from the concerns of litigation, including disruptive discovery, and noting

that permitting discovery to proceed as to other defendants would prejudice defendants who have

asserted qualified immunity); Siegert v. Gilley, 500 U.S. 226, 232 (1991) (quoting Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982) for the proposition that discovery should not be allowed until

the threshold question of qualified immunity is resolved); Mitchell v. Forsyth, 472 U.S. 511, 526

(1985) (“Unless the plaintiff’s allegations state a claim of violation of clearly established law, a

defendant pleading qualified immunity is entitled to dismissal before the commencement of

discovery.”).9 The Court may not allow any discovery to take place until Arredondo’s assertion of

immunity is resolved.




9
 See also, e.g., Jackson v. City of Hearne, 959 F.3d 194, 202 (5th Cir. 2020); Vander Zee v. Reno,
73 F.3d 1365, 1368-69 (5th Cir. 1996); Allen v. Hays, 812 Fed. App’x 185, 194 (5th Cir. 2020);
Morris v. Cross, 476 Fed. App’x 783, 785 (5th Cir. 2012) (“Because the defendants raised qualified
immunity, [plaintiff] was not entitled to proceed with discovery.”)
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                                          CONCLUSION

         WHEREFORE, PREMISES CONSIDERED, Defendant Pedro “Pete” Arredondo prays

that the Court the grant this motion to dismiss the individual claims of the Parent Plaintiffs against

Arredondo for lack of jurisdiction, under Federal Rule of Civil Procedure 12(b)(1), and that all

Plaintiffs’ remaining claims against him be dismissed for failure to state claims upon which relief

can be granted, under Federal Rule of Civil Procedure 12(b)(6), that the Court recognize that

Arredondo is entitled to qualified immunity from Plaintiffs’ claims, and that all of Plaintiffs’

causes of action against Defendant Arredondo be dismissed with prejudice to the refiling of same.

Defendant Arredondo further prays that Plaintiffs take nothing by this suit; that all relief requested

by Plaintiffs be denied; and that Defendant recover all costs of suit; as well as for such other and

further relief, both general and special, at law or in equity, to which Defendant may show himself

to be justly entitled.




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                                                    ATTORNEYS FOR DEFENDANT
                                                    PEDRO “PETE” ARREDONDO


                               CERTIFICATE OF SERVICE

        I hereby certify that on the 24th day of June 2024, I electronically filed the foregoing
document with the Clerk of the Court through the ECF system and an email notice of the electronic
filing was sent to all attorneys of record.

                                            /s/ Thomas P. Brandt
                                            THOMAS P. BRANDT




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